                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Harrisonburg Division


  JOHN DOE 4, by and through his next
  friend, NELSON LOPEZ, on behalf of
  himself and all persons similarly situated,
                                                      CIVIL ACTION
          Plaintiff,

  v.                                                  Case No.: 5:17-cv-00097-EKD

  SHENANDOAH VALLEY JUVENILE
  CENTER COMMISSION,                                  Honorable Elizabeth K. Dillon

          Defendant.

                                DEFENDANT’S WITNESS LIST

          Pursuant to the Court’s Amended Scheduling Order, Defendant Shenandoah Valley

  Juvenile Center Commission (“SVJC”), by counsel, submits the following as witnesses who may

  be called to testify at the trial of this case scheduled to commence at 9:30 a.m. on December 17,

  2018:

                                           WITNESSES

          1.      Kelsey Wong. Ms. Wong’s address is 300 Technology Drive, Staunton, Virginia,

  24401. Ms. Wong will offer testimony regarding the following:

                  (a)   The three youth populations served by SVJC, including the nature of and
                        services provide to each population.
                  (b)   SVJC’s Cooperative Agreement with the Office of Refugee Resettlement
                        (“ORR”) governing SVJC’s provision of services to Unaccompanied
                        Alien Children (“UAC”).
                  (c)   ORR’s role and involvement as legal custodian of UACs at SVJC.
                  (d)   ORR’s reporting requirements and oversight of services provided to UACs
                        at SVJC.
                  (e)   SVJC’s current and previous behavior management programs.
                  (f)   SVJC’s policies regarding discrimination as well as the use of force,
                        restraints, and room confinement.



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                 (g)     SVJC’s policies regarding the provision of mental health care services to
                         UACs.
                 (h)     SVJC’s provision of educational programming to UACs and other
                         residents.
                 (i)     SVJC’s mandatory reporting requirements with respect to allegations of
                         abuse.
                 (j)     SVJC’s required trainings for staff members.
                 (k)     SVJC’s grievance procedure.
                 (l)     The monitoring and oversight responsibilities of the Virginia Department
                         of Juvenile Justice (“DJJ”).

         2.      Toby M. Biswas, Esquire. Mr. Biswas’ address is 330 C Street, SW, Washington,

  D.C, 20201.    Mr. Biswas is expected to testify regarding ORR’s day-to day role as legal

  custodian of UACs residing at SVJC, including ORR’s exclusive responsibility for placement

  and treatment decisions for UAC.

         3.      Christy S. Dameron. Ms. Dameron’s address is 674 Howardsville Turnpike,

  Stuarts Draft, Virginia, 24477. Ms. Dameron is expected to testify regarding her duties and

  experience as Training Coordinator at SVJC. Ms. Dameron will identify and describe various

  required trainings for SVJC staff members.

         4.      Dr. Joseph Gorin, Psy. D. Dr. Gorin’s address is 2607 Connecticut Avenue NW,

  Washington, D.C., 20008. Dr. Gorin is expected to testify regarding his role in providing

  medical care and mental health care to Plaintiff John Doe 4 and other class members. Dr.

  Gorin’s testimony will implicate his specialized knowledge of psychology and include expert

  opinions as set forth in the expert designation served upon counsel in this case. To the extent

  Plaintiffs are permitted to introduce evidence regarding non-class members, Dr. Gorin may also

  testify regarding his provision of psychiatric medical care to those residents.

         5.      Dr. Timothy Kane, M.D. Dr. Kane’s address is 907 Goose Creek Road, Suite

  105, Fishersville, Virginia, 22939. Dr. Kane is expected to testify regarding his role in providing

  medical care and mental health care to Plaintiff John Doe 4 and other class members. Dr. Kane’s


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  testimony will implicate his specialized knowledge of psychiatry and include expert opinions as

  set forth in the expert designation served upon counsel in this case. To the extent Plaintiffs are

  permitted to introduce evidence regarding non-class members, Dr. Kane may also testify

  regarding his provision of psychiatric medical care to those residents.

         6.      Evenor Aleman. Mr. Aleman’s address is 573 Stonewall Drive, Harrisonburg,

  Virginia, 22801. Mr. Aleman is expected to testify regarding his duties, training, and experience

  as a mental health clinician at SVJC. Mr. Aleman will testify regarding his role in providing

  mental health counseling services to Plaintiff John Doe 4 and other class members.             Mr.

  Aleman’s testimony will implicate his specialized knowledge of mental health counseling and

  include expert opinions as set forth in the expert designation served upon counsel in this case.

  To the extent Plaintiffs are permitted to introduce evidence regarding non-class members, Mr.

  Aleman may also testify regarding his provision of mental health counseling services to those

  residents.

         7.      Philip A. Mayles. Mr. Mayles’ address is 1181 Lincolnshire Drive, Rockingham,

  Virginia, 22802. Mr. Mayles is expected to testify regarding his duties, training, and experience

  as a mental health clinician at SVJC. Mr. Mayles will testify regarding his role in providing

  mental health counseling services to Plaintiff John Doe 4 and other class members. Mr. Mayles’

  testimony will implicate his specialized knowledge of mental health counseling and include

  expert opinions as set forth in the expert designation served upon counsel in this case. To the

  extent Plaintiffs are permitted to introduce evidence regarding non-class members, Mr. Mayles

  may also testify regarding his provision of mental health counseling services to those residents.

         8.      Chacha Mahiri. Mr. Mahiri’s address is 4259 Dry River Road, Bridgewater,

  Virginia, 22812. Mr. Mahiri is expected to testify regarding his duties, training, and experience



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  as a Resident Supervisor at SVJC. Mr. Mahiri will testify regarding specific incidents involving

  Plaintiff John Doe 4 and other class members. To the extent Plaintiffs are permitted to introduce

  evidence regarding non-class members, Mr. Mahiri may also testify regarding incidents

  involving those residents.

         9.      James Marable. Mr. Marable’s address is 536 Park Street, Moosic, Pennsylvania,

  18507. Mr. Marable is expected to testify regarding his duties, training, and experience as a

  Resident Supervisor at SVJC.     Mr. Marable will testify regarding specific incidents involving

  Plaintiff John Doe 4 and other class members. To the extent Plaintiffs are permitted to introduce

  evidence regarding non-class members, Mr. Marable may also testify regarding incidents

  involving those residents.

         10.     Dazzmond Thornton. Mr. Thornton’s address is 668 John Tyler Circle, Apt. 201,

  Harrisonburg, Virginia, 22802. Mr. Thornton is expected to testify regarding his duties, training,

  and experience as a Resident Supervisor at SVJC. Mr. Thornton will testify regarding specific

  incidents involving Plaintiff John Doe 4 and other class members. To the extent Plaintiffs are

  permitted to introduce evidence regarding non-class members, Mr. Thornton may also testify

  regarding incidents involving those residents.

         11.     Erik Uraje. Mr. Uraje’s address is 523 Windmere Drive, Culpepper, Virginia,

  22701. Mr. Uraje is expected to testify regarding his duties, training, and experience as a

  Resident Supervisor at SVJC.      Mr. Uraje will testify regarding specific incidents involving

  Plaintiff John Doe 4 and other class members. To the extent Plaintiffs are permitted to introduce

  evidence regarding non-class members, Mr. Uraje may also testify regarding incidents involving

  those residents.




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         12.     Jimmy Fields. Mr. Field’s address is 77 Pleasant Hill Road, Harrisonburg,

  Virginia, 22801. Mr. Fields is expected to testify regarding his duties, training, and experience

  as a Resident Supervisor at SVJC. Mr. Fields will testify regarding specific incidents involving

  Plaintiff John Doe 4 and other class members. To the extent Plaintiffs are permitted to introduce

  evidence regarding non-class members, Mr. Fields may also testify regarding incidents involving

  those residents.

         13.     Kristopher R. Kann.     Mr. Kann’s address is 292 Rustic Avenue, Broadway,

  Virginia, 22815. Mr. Kann is expected to testify regarding his duties, training and experience as

  a Deputy Director of Operations, Shift Supervisor, Assistant Supervisor, Resident Supervisor,

  and Youth Worker at SVJC. Mr. Kann will testify regarding SVJC’s policies on the use of force,

  restraints, and room confinement. Mr. Kann will further testify regarding specific incidents

  involving Plaintiff John Doe 4 and other class members. To the extent Plaintiffs are permitted to

  introduce evidence regarding non-class members, Mr. Kann may also testify regarding incidents

  involving those residents.

         14.     Anastacia R. Thacker.     Ms. Thacker’s address is 390 Mason Street, Dayton,

  Virginia, 22821.    Ms. Thacker is expected to testify regarding her duties, training, and

  experience as an Assistant Supervisor at SVJC.       Ms. Thacker will testify regarding specific

  incidents involving Plaintiff John Doe 4 and other class members. To the extent Plaintiffs are

  permitted to introduce evidence regarding non-class members, Ms. Thacker may also testify

  regarding incidents involving those residents.

         15.     Paul McCormick. Mr. McCormick’s address is 1747 Springhill Road, Staunton,

  Virginia, 24401.   Mr. McCormick is expected to testify regarding his duties, training and

  experience as a Security Manager, CPP Case Manager, Assistant Supervisor, and Resident



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  Supervisor at SVJC. Mr. McCormick will testify regarding SVJC’s policies and training of staff

  on the use of force, restraints, and room confinement. Mr. McCormick will further testify

  regarding specific incidents involving Plaintiff John Doe 4 and other class members. To the

  extent Plaintiffs are permitted to introduce evidence regarding non-class members, Mr.

  McCormick may also testify regarding incidents involving those residents.

         16.     Carol Brooks-Quintero. Ms. Brooks-Quintero’s address is 365 West Avenue,

  Harrisonburg, Virginia, 22801.     Ms. Brooks-Quintero is expected to testify regarding her

  experiences as a teacher at SVJC and her employment by Staunton City Schools. Ms. Brooks-

  Quintero will testify regarding her interactions with Plaintiff John Doe 4 and other class

  members. To the extent Plaintiffs are permitted to introduce evidence regarding non-class

  members, Mr. Fields may also testify regarding incidents involving those residents.

         17.     Elizabeth Ropp. Ms. Ropp’s address is 1290 B Greystone Street, Harrisonburg,

  Virginia, 22802. Ms. Ropp will testify regarding her duties, training and experience as a case

  manager at SVJC. Ms. Ropp will testify regarding her work as the case manager for Plaintiff

  John Doe 4 and other class members.        To the extent Plaintiffs are permitted to introduce

  evidence regarding non-class members, Ms. Ropp may also testify regarding her work as case

  manager for those residents.

         18.     Kristal Goff. Ms. Goff’s address is 107 Audubon Street, Staunton, Virginia,

  24401. Ms. Goff may testify regarding her duties, training and experience as a nurse manager at

  SVJC. Ms. Goff will testify regarding her work as a nurse manager in providing medical care

  for Plaintiff John Doe 4 and other class members. To the extent Plaintiffs are permitted to

  introduce evidence regarding non-class members, Ms. Goff may also testify regarding her work

  as nurse manager for those residents.



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          19.    Anne M. Nelsen, MSW, MPA. Ms. Nelsen’s address is 1644 Jamestown Drive,

  Salt Lake City, Utah 84121. Ms. Nelsen will testify regarding her involvement in this case as an

  expert retained by SVJC. Her testimony will include the facts, opinions, and supporting bases

  set forth in her report of September 28, 2018, a copy of which has been served upon counsel in

  this case.

          20.    Kenneth T. Bailey. Mr. Bailey’s address is Main Street Centre, 20th Floor, 600

  East Main Street, Richmond, Virginia 23219. Mr. Bailey will testify regarding the monitoring

  and certification responsibilities of the Virginia DJJ with respect to SVJC. Mr. Bailey will also

  testify regarding DJJ’s investigation regarding claims of abuse at SVJC and the report of findings

  subsequently issued on August 13, 2018.

          21.    Sheila L. Palmer. Ms. Palmer’s address is 1601 Old Bon Air Road, Richmond,

  Virginia, 23235. Ms. Palmer will testify regarding her experience as a Certification Analyst with

  DJJ as well as DJJ’s monitoring and certification responsibilities with respect to SVJC. Ms.

  Palmer will also testify regarding DJJ’s investigation regarding claims of abuse at SVJC and the

  report of findings subsequently issued on August 13, 2018.

          22.    Elsa Gallardo. Ms. Gallardo’s address is 763-205 Hillmont Circle, Harrisonburg,

  Virginia, 22801. Ms. Gallardo will testify regarding her duties, training and experience as a case

  manager at SVJC. Ms. Gallardo will testify regarding her work as a case manager for class

  members. To the extent Plaintiffs are permitted to introduce evidence regarding non-class

  members, Ms. Gallardo may also testify regarding her work as case manager for those residents.

          23.    Emily Twigg. Ms. Twigg’s address is 1228 Old Richmond Circle, Harrisonburg,

  Virginia, 22802. Ms. Twigg will testify regarding her duties, training and experience as a case

  manager at SVJC. Ms. Twigg will testify regarding her work as a case manager for class



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  members. To the extent Plaintiffs are permitted to introduce evidence regarding non-class

  members, Ms. Twigg may also testify regarding her work as case manager for those residents.

         24.    Any records custodian needed to authenticate documents.

         25.    Any witness needed for impeachment or rebuttal.

         26.    Any witness called or identified by Plaintiffs who is not objected to by Defendant.

                                                   Respectfully submitted,
                                             SHENANDOAH VALLEY JUVENILE
                                                  CENTER COMMISSION
                                                        By Counsel


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  Counsel for Shenandoah Valley Juvenile Center Commission




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                                          CERTIFICATE

          I certify that on the 12th day of November, 2018, I electronically filed the forgoing

  document with the Clerk of the Court using the CM/ECF system, which will send notification of

  such filing to:


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                                                             /s/ Jason A. Botkins
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                                                         Juvenile Center Commission




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